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IN THE UNITED sTATEs DISTRICT CoURT F l L E D ay
FoR THE WESTERN DISTRICT oF TENNESSEE `L
EAsTERN DI\/lsloN JUL 132005

Thomas M. Gould. C|erk
U. S. Dlsificf Coun

RBP’ LJ]'_J(:9 W. D. OF TN, JBCkSon

Piaimiff,

VS. No. 1-04-1154-T-An

GENUINE PARTS COMPANY and
INDIANA INSURANCE COMPANY

5

Defendants.

 

GENUINE PARTS COMPANY,
Third-Party Plaintiff,

VS.

ALLIANZ GLOBAL RISKS U.S.

INSURANCE COMPANY and
LEXINGTON INSURANCE COMPANY,

\J\_/\_/\_J\J\_/\J\J\_/\_/\_/\_/`_/\/\_/\_/\_/\_/\_/\./\_/\_/\_/

Third-Party Defendants.

 

ORDER GRANTING JOINT MOTION TO SET ASIDE ORDER GRANTING
PLAINTIFF’S THIRD AMENDED COMPLAINT

 

On May 26, 2005, Plaintiff RBP filed its third motion to amend. The court granted
RBP’s motion on June 22, 2005. The parties tile this joint motion to set aside the court’s
June 22nd order because Third-Party Defendants Ai]ianz and LeXington did not receive

notice of the motion. The parties request that the court grant the motion to set aside in order

miss document entered on the docket sheet in compllance
with F-lu!e 58 and/or 79 (a) FRCP on

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to give Third-Party Defendants an opportunity to respond to Plaintif:t" s motion. For good
cause shown, the joint motion is GRANTED and the order granting Plaintiff"s third motion
to amend, entered .Iune 22, 2005, is hereby SET ASIDE.

IT IS SO ORDERED.

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m\i?/n§s D ToDD
iran s'rATEs DIsTRICT JUDGE

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DATE

 

 

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This notice confirms a copy ofthe document docketed as number 114 in
case 1:04-CV-01154 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

ssEE

 

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